CM/ECF-GA Northern District Court                                    https://gand-ecf.sso.dcn/cgi-bin/GANDc_mkmin.pl?200478554045156-...
                      Case 1:18-cr-00098-SCJ-LTW Document 195 Filed 03/10/22 Page 1 of 1




                                 UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF GEORGIA
                                       ATLANTA DIVISION
                                                  1:18-cr-00098-SCJ-LTW
                                                       USA v. Bickers
                                                  Honorable Steve C. Jones

                                Minute Sheet for proceedings held In Open Court on 03/10/2022.


              TIME COURT COMMENCED: 9:15 A.M.
              TIME COURT CONCLUDED: 4:00 P.M.                      COURT REPORTER: Viola Zborowski
              TIME IN COURT: 5:45                                  DEPUTY CLERK: Pamela Wright
              OFFICE LOCATION: Atlanta

         DEFENDANT(S):               [1]Mitzi Bickers Present at proceedings
         ATTORNEY(S)                Jeffrey Davis representing USA
         PRESENT:                   Tiffany Dillingham representing USA
                                    Drew Findling representing Mitzi Bickers
                                    Marissa Goldberg representing Mitzi Bickers
                                    Zachary Kelehear representing Mitzi Bickers
                                    Nathan Kitchens representing USA
         PROCEEDING
                                    Jury Trial Continued;
         CATEGORY:
         MINUTE TEXT:               Opening arguments heard. Government's case began. Agent John Relyea
                                    sworn and testified. Government's exhibits 193-196, 6, 12, 17, 19, 1, 5, 8,
                                    9, 14, 24, 13a, 13b, 16, 20, 28-42, 197, 44-47 admitted. Danielle Nichols
                                    sworn and testified. Government's exhibit 48 admitted. Nina Hickson
                                    sworn and testified. Government's exhibits 49-51 admitted. Kimberly
                                    Spell-Fowler sworn and testified. Government's exhibits 53-65 admitted.
                                    Jimmy Kirby sworn and testified. Deborah Lonon sworn and testified.
                                    Government's exhibit 73 admitted. Charles P. Richards, Jr. sworn and
                                    testified. Government's exhibits 66 and 26L-1 admitted.
         HEARING STATUS:            Hearing not concluded. Court adjourned and will reconvene at 9:00 AM
                                    on 3/11/2022.
         TRIAL STATUS:              Evidence Entered, Continued
         EXHIBIT STATUS:            Exhibits retained by the Court to be forwarded to the Clerks Office.




1 of 1                                                                                                              3/16/2022, 10:13 AM
